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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     JONI JEZEWSKI,                                      Case No. 23-cv-00832-SK
                                   8                    Plaintiff,
                                                                                             ORDER REGARDING EX PARTE
                                   9              v.                                         COMMUNICATIONS AND PRO SE
                                                                                             RESOURCES
                                  10     NATASHA FLINT, et al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          On June 27, 2023 this Court received an improper ex parte communication from Joni
                                  14   Jezewski (“Plaintiff”) regarding her difficulty accessing PACER. Plaintiff additionally attached
                                  15   multiple pages of “references” and a letter. (See Dkt. Nos. 17, 18.) Plaintiff is reminded that
                                  16   emailing or communicating to the Court is an impermissible ex parte communication and will not

                                  17   be considered by the Court. A party cannot contact the Court without including the opposing

                                  18   party in the communication, and all communications in writing should be through documents

                                  19   formally filed on the docket. If Plaintiff has difficult obtaining a PACER account or filing with

                                  20   the Court, she is directed to access resources listed below for pro se litigants.

                                  21          The Court ADVISES Plaintiff that the district court has produced a guide for pro se

                                  22   litigants called Representing Yourself in Federal Court: A Handbook for Pro Se Litigants, which

                                  23   provides instructions on how to proceed at every stage of your case, including discovery, motions,

                                  24   and trial. It is available electronically online (https://perma.cc/ANQ4-N2ZT) or in hard copy free

                                  25   of charge from the Clerk’s Office. The Court additionally has a website with resources for pro se

                                  26   litigants (https://perma.cc/6NL7-U9U7). The Court further advises Plaintiff that she also may

                                  27   wish to seek assistance from the Legal Help Center. Plaintiff may call the Legal Help Center at

                                  28   415-782-8982 or email fedpro@sfbar.org for a free appointment with an attorney who may be able
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                                   1   to provide basic legal help, but not legal representation.

                                   2          IT IS SO ORDERED.

                                   3   Dated: June 29, 2023

                                   4                                                    ______________________________________
                                                                                        SALLIE KIM
                                   5                                                    United States Magistrate Judge
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Northern District of California
 United States District Court




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